The relief described hereinbelow is SO ORDERED.

SIGNED this 20th day of September, 2018.




_________________________________________________________________________



                    IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF KANSAS


                               BAR DATE: September 07, 2018

IN RE:
         Matthew Russell Asikainen

         Margaret Ann Asikainen
                                                 Chapter 13
                        Debtors                  Case No: 18-21339


                                  ORDER CONFIRMING PLAN

    The Court has determined that the Debtor's Plan meets the confirmation requirements of
Chapter 13 of Title 11 of the United States Code. (All references to “Debtor” in this Order refer
to the Debtor and Codebtor, if any, collectively and individually unless otherwise specified.) The
Court finds that the Plan as ORIGINALLY FILED, or as LAST AMENDED if applicable, is
confirmed, and ORDERS:

           1. PAYMENTS. Debtor shall make MONTHLY payments of $1175.00, as required
   by the Plan as Confirmed to:
                W.H. Griffin, Trustee
                PO BOX 412573
                KANSAS CITY, MO
                64141-2573




                 Case 18-21339       Doc# 27     Filed 09/20/18     Page 1 of 4
        2. DEBTOR ULTIMATELY RESPONSIBLE FOR PLAN PAYMENTS. If
Debtor’s employer is required to make the Plan payment but does not, then the Debtor is
ultimately responsible to timely make all Plan payments. If the Debtor does not cause such
payments to be timely made, the Trustee may request, and the Court may issue, without
further notice, an order directing the Debtor employer to make the appropriate deductions and
payments to the Trustee.

        3. CHANGE OF ADDRESS OR EMPLOYMENT. The Debtor shall immediately
notify the Court and the Trustee, in writing, of any change of address or any change in
employment. Notice of a change in employment shall include the name and appropriate
mailing address for the payroll department of the new employer.
     4. INCURRING POST PETITION DEBT. DEBTOR SHALL NOT INCUR ANY
ADDITIONAL DEBTS DURING THE PENDENCY OF THE PLAN WITHOUT PRIOR
APPROVAL BY THE COURT OR THE TRUSTEE, EXCEPT DEBTS THAT MAY BE
NECESSARY FOR THE PROTECTION AND PRESERVATION OF LIFE, HEALTH, OR
PROPERTY, SUCH AS FOOD, CLOTHING, LODGING, OR MEDICAL CARE FOR
DEBTOR OR FAMILY.

        5. DEBTOR DUTY TO REPORT. The Debtor shall timely report to the Trustee any
events affecting disposable income which are not projected on Schedules I and J, including
but not limited to tax refunds, inheritances, prizes, lawsuits, gifts, etc., that are received or
receivable during the pendency of the case.
       6. DISPOSAL OF PROPERTY. During the pendency of this case, Debtor is
enjoined and prohibited from selling, encumbering, or in any manner disposing of assets
without prior order of the Court, except as may be required in the course of Debtor's business,
if Debtor is engaged in business.

         7. TAX RETURNS. Debtor shall timely file all tax returns that become due during
the pendency of this case, and provide a copy to the Trustee at the same time the return is
filed, if requested by the Chapter 13 Trustee. Confirmation of a plan is without prejudice to
the Trustee seeking to alter the liquidation value in Section 15 based on Debtor's entitlement
to receive pre-petition non-exempt federal and state income tax refunds.

        8. LENGTH OF PLAN.Nothing in the Plan shall be construed to permit Debtor to
receive a discharge before three years if Debtor is a below median income debtor, or before
five years if Debtor is an above median debtor, unless all claims are paid in full.
        9. MORTGAGE DEFAULTS. The amount of the pre-petition mortgage note
arrearage, if any, as specified in the real estate creditor's proof of claim, shall govern, unless
the amount is specifically controverted in the Plan or by an objection to the claim as
requested by D. Kan. LBR 3015(b).1. Creditors are bound by the interest rate stated in the
Plan, unless modified by a separate order.




              Case 18-21339        Doc# 27      Filed 09/20/18      Page 2 of 4
          If Debtor pays the pre-petition arrearage as determined in the foregoing paragraph,
 together with interest, if any, as specified in the Plan, all pre-petition defaults will be cured
 and the note and other loan documents will be deemed current as of the date of filing,
 extinguishing any right of the mortgagee to recover any amount alleged to have arisen prior to
 the filing of the petition or to declare a default of the note, mortgage, or other loan documents
 based upon pre-petition events.

         No real estate creditor shall ever assess, charge or collect, from either the debtor or the
 real estate collateral any assessments, fees, costs, expenses or any other monetary amounts,
 exclusive of principal, interest, taxes and insurance, that arose from the date of filing of the
 bankruptcy petition to the entry of the Order of Discharge except as may be allowed by court
 order or an allowed proof of claim.
       10. CONFIRMATION OBLIGATIONS. Confirmation of this Plan is a finding that
Debtor has complied with all of the applicable provisions of 11 U.S.C. §§ 1322 and 1325 and
Debtor has fulfilled all pre-confirmation obligations under 11 U.S.C. § 521.
       11. NOTICE PROVIDED. The court finds that written notice of the confirmation
hearing has been given by mail to all creditors and interested parties as shown by Debtor's
matrix filed herein, which notice is hereby approved.

        12. TRUSTEE FEE. Notwithstanding any plan provision to the contrary, the Trustee
shall be paid a variable percentage fee in accord with 28 U.S.C. § 586(e).
        13. VESTING. After approval of the Trustee's Final Report and Account by the Court,
all property of the bankruptcy estate that is not proposed or reasonably contemplated to be
distributable under the Plan, shall re-vest in Debtor as Debtor's property following dismissal
or discharge, unless the property earlier vested by terms of the confirmed plan.

        14. UNCLAIMED FUNDS. All funds that remain unclaimed ninety days after
distribution of the final dividend shall be processed and deposited as provided by Bankruptcy
Rule 3011.

        15. ADDITIONAL FINDINGS. In the event findings of fact and conclusions of law,
as required by Fed. R. Bank. P. 7052 and Fed. R. Civ. P. 52, were stated orally and recorded in
open court, these are hereby incorporated herein by reference.
       16. REPORTS. At least once annually, the Trustee shall mail to the Debtor and file
with the Court a report showing the funds received and the disbursements made by the
Trustee.

                                              ###




               Case 18-21339        Doc# 27     Filed 09/20/18      Page 3 of 4
Prepared and Approved By:

s/W.H. Griffin, Chapter 13 Trustee
W.H. Griffin #08060
5115 ROE BLVD
SUITE 200
ROELAND PARK, KS 66205-2393
(913)-677-1311
(913)-432-7857 (Fax)
inquiries@13trusteekc.com




               Case 18-21339         Doc# 27   Filed 09/20/18   Page 4 of 4
